                                           Case 5:15-cr-00226-EJD Document 98 Filed 01/07/16 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    USA,                                              Case No. 5:15-cr-00226-EJD
                                                       Plaintiff,
                                   8
                                                                                          ORDER PURSUANT TO GENERAL
                                                v.                                        ORDER 54
                                   9

                                  10    DOUGLAS STROMS YORK,
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                               The following documents in this action shall not be opened except by the United States
                                  13
                                       Sentencing Commission for its eyes only and shall not be transmitted or otherwise opened except
                                  14
                                       by order of this court upon application.
                                  15
                                               (X)    Presentence Report
                                  16
                                               ( )    Plea Agreement
                                  17
                                               (X)    Statement of Reasons
                                  18
                                               ( )    (Other).
                                  19
                                               IT IS SO ORDERED.
                                  20
                                       Dated: 1/6/2016
                                  21

                                  22
                                                                                      ______________________________________
                                  23
                                                                                      EDWARD J. DAVILA
                                  24                                                  United States District Judge

                                  25

                                  26

                                  27

                                  28
